34 F.3d 1074
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Audor AGUILAR-HIGUERRA, Defendant-Appellant.
    No. 94-30051.
    United States Court of Appeals, Ninth Circuit.
    Submitted Aug. 3, 1994.*Decided Aug. 11, 1994.
    
      Before:  WALLACE, Chief Judge, HUG and RYMER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Audor Aguilar-Higuerra appeals his sentence of seventy months imposed after he pleaded guilty to reentering the United States following a felony conviction, in violation of 8 U.S.C. Sec. 1326.  The arguments raised here regarding the legality of the sentence are foreclosed by United States v. Ullyses-Salazar, No. 93-50144, slip op. 6543 (9th Cir.  June 20, 1994).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    